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 4

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 7
                                UNITED STATES DISTRICT COURT
 8                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
     ANDREW PETTIS, individually, JOHN
10   WYSKIDA, individually, and on behalf of all
     others similarly situated,
                                                                NO. 3:20-cv-08190-EMC
11
                            Plaintiffs,
12                                                          NOTICE OF SETTLEMENT
            v.
13
     HEALTH IQ INSURANCE SERVICES, INC., a
14   Delaware corporation,

15                          Defendant.

16
            Plaintiff Andrew Pettis and Plaintiff John Wyskida give notice that the parties have
17
     reached a settlement in principal. The parties anticipate filing a Notice for Dismissal of the action
18
     with prejudice as to the Plaintiff’s individual claims within 30 days. The parties request that all
19
     pending dates and filing requirements as to the parties be vacated and that the Court set a
20
     deadline, thirty days from the present date for filing a dismissal of the action.
21

22                                                  Respectfully Submitted,

23   Dated: February 19, 2021                       By: /s/ Rachel E. Kaufman
                                                    Rachel E. Kaufman
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